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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
                Plaintiff,                         )       18 CR 611
                                                   )       Judge Ronald A. Guzman
v.                                                 )
                                                   )
JI CHAOQUN                                         )
                                                   )
                Defendant.                         )

              DEFENDANT’S ADDITIONAL PROPOSED JURY INSTRUCTIONS

         Defendant Ji Chaoqun, by and through his attorneys, Cheronis, Parente & Levitt, pursuant

to Rule 30 of the Federal Rules of Criminal Procedure, the Due Process and Effective Assistance of

Counsel clauses of the Fifth and Sixth Amendments to the Constitution of the United States, as

well as the other authority cited herein, respectfully submits the following additional proposed

instructions.

I.       Response to the Government’s Amended Instructions (Dkt. # 350).

         Regarding the Government’s Preliminary Instruction No. 1 (modified) (appearing on pp. 2-

3 of Dkt. # 350), counsel requests the following language be added where the government’s proposal

leaves off:

         The reason that you may not consider any information from outside sources is
         because it is not fair to either side if you are influenced by these sources.

         The government has a right to present their case and Mr. Ji has the right to defend
         his case based only on the evidence you see and hear in court.

         We can all think of situations in our own lives where we have been unduly or unfairly
         influenced by outside sources or information. A good example would be reading a
         bad movie review before seeing a movie. Try as you might, the opinion expressed by
         the reviewer may taint your view of the movie and your ability to judge it on its own
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        terms. If the reviewer reported some unfavorable personal anecdote about one of
        the actors, it may hinder your ability to pay attention or give you a bias against that
        particular person.

        The best way to give a fair trial to both parties is to refrain from any outside influences
        that may affect your judgment or hinder your ability to be fair and impartial during
        these proceedings and that is why you must refrain from consulting any outside
        sources.

        ***
        Counsel and Mr. Ji object to the government’s proposed elements instruction for count two.

Dkt. # 350 pp. 4-5. There are two concerns with the government’s proposed instruction. First, the

government carefully added additional language that appears nowhere in the statute. Specifically, in

¶ 4, the government phrased the elements to read, “the defendant acted, at least in part, as an agent

for the government or an official of the People’s Republic of China in the United States.” The

bolded language stating that the qualifying “act” must have occurred only “in part” in the United

States is language of the government’s own crafting. It does not appear in the language of the statute

itself, which straightforwardly reads “[w]hoever, other than a diplomatic or consular officer or

attaché, acts in the United States as an agent of a foreign government without prior notification to

the Attorney General. . . .” The insertion of this language risks lessening the proof required to sustain

a conviction, or otherwise distracting or confusing the jury from the singular focus it must have

when considering this count: whether or not Mr. Ji acted as an unregistered foreign agent in the

United States, regardless of whether or not he did so elsewhere.

        The second concern is with the government’s additional descriptive language regarding what

it means to be a “foreign agent” in the context of § 951. This language is derived from the Fourth

Circuit’s opinion in United States v. Rafiekian, 991 F.3d 529, 541 (4th Cir. 2021). The government

included only the language favorable to it, and omitted the Fourth Circuit’s discussion of limitations




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on the concept. Its instruction is therefore biased, slanted, and a non-neutral recitation of the law.

Counsel therefore offers competing § 951 instructions below, but requests that the additional

descriptive language necessarily include the following: “[the alleged] agreement cannot be one-sided,

and a person does not become an “agent” simply by acting in accordance with foreign interests or

by privately pledging allegiance.” See Rafiekian, supra.

II.       Submission of Previously Reserved Instructions



Government Instruction No. 11 (Seventh Circuit Committee No. 3.09). The defense objects to

this instruction without further elaboration and clarification of the voluntariness inquiry, given the

unique and significantly contested issue related to statements Mr. Ji allegedly made to an undercover

FBI agent posing as a member of Chinese intelligence that are expected to constitute a significant

portion of the government’s case. Counsel reincorporates all previous arguments raised with respect

to this issue, including Mr. Ji’s motion to suppress statements made to an undercover agent (Dkt. #

144), and the briefing regarding Professor Donald Clarke (Dkt. # 289, 291, 293-295). This

instruction is requested to be given as follows:

          You have heard testimony that the defendant made statements to law enforcement,
          including agents acting in an undercover capacity.

          The defense has contended that because the government utilized the endorsement
          of the Chinese government to elicit these statements, and thus Chinese legal
          doctrines requiring its citizens to answer questions as well as the extra-legal means
          that country relies upon to achieve its objectives, Mr. Ji’s statements were
          “involuntary.”

          You must decide whether the defendant actually made the statement and, if so, how
          much weight to give to the statement. In making these decisions, you should consider
          all of the evidence, including the defendant’s personal characteristics and
          circumstances under which the statement may have been made.




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       A confession is voluntary only if it is “the product of a free and deliberate choice
       rather than intimidation, coercion, or deception.”

       This inquiry requires you to consider the totality of circumstances surrounding the
       statements and examiner “whether the defendant’s will was overborne by the
       circumstances surrounding the giving of” the statement.

       You may not consider the statements for any purpose if you find that they were
       “involuntary” as I have explained the concept within these instructions.

See 18 U.S.C. § 3501; Moran v. Burbine, 475 U.S. 412, 421 (1986); see also United States v. Dillon, 150

F.3d 754, 757 (7th Cir. 1998) (a confession is voluntary only if “the confession is the product of a

rational intellect and free will and not the result of physical abuse, psychological intimidation, or

deceptive interrogation tactics that have overcome the defendant’s free will”); Schneckloth v.

Bustamonte, 412 U.S. 218, 226 (1973).



Government’s Instruction No. 18 (Seventh Circuit Committee No. 3.19). During the August 4,

2022, pretrial conference, when addressing the defense objection to this instruction, the Court

stated the following:

       [M]y take on the defense objection is that they have strong reservations about the
       evidence resulting from the government’s use of this technique. That is separate and
       apart from, in my opinion, whether the use of the technique itself is appropriate or
       not.

       Cleary the use of the technique, including an undercover FBI agent posing as
       anything, a gang member, a member of a conspiracy group or a member of the MSS,
       is permitted, and there shouldn’t be any instruction given that would undermine
       that concept.

       It seems to me that what the defense is arguing is that they think that the evidence
       should be considered—that part of what should be considered in determining the
       weight of the evidence is the fact that the defendant believed he was speaking to an
       MSS agent.




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       But that argument you can make. And, in fact, when it says you should consider the
       evidence obtained this way, together with and in the same way you consider the other
       evidence, that’s really actually the law, isn’t it? And they can take into account and
       they should take into account all of the circumstances, including what the agent said,
       who he posed himself to be, the conversations, etc. all of the factors.

       [...] I guess my view would be that if the defense feels that the language regarding
       “take into account and consider this evidence the same way you consider other
       evidence,” if you want to enlarge that to some extent so that the jury is aware of the
       fact that they can consider all of these things, that I think would be appropriate.

       I’m trying to think of – I certainly don’t think that the instruction usurps the
       function of the jury, as the defense objects here. I think it does just the opposite. It
       tells the jury, you are the ones who consider the weight, if any, you want to give this
       evidence.

       What you can’t consider is that it’s improper for the government to use an
       undercover agent, because that’s not improper. Whether it’s an undercover agent of
       the MSS, claiming to be an MSS agent or someone claiming to be a member of the
       P. Stone Nation, it’s all the same. I don’t see anything special there.

       But if you want to craft some language that makes it clear to the jury that just because
       the investigative technique is perfectly ok, they don’t have to believe the results of it,
       that I think would be worth looking at.

August 4, 2022 Transcript pp. 16-18. The discussion continued from there, with the Court noting

that it “would be happy to see either side draft an instruction,” and ultimately holding ruling in

abeyance depending on how the evidence and arguments play out at trial. Id. at pp. 18-19. While

the defense stands on its previous objection, in accordance with the foregoing, counsel submits the

following as an alternative, modified proposal:

       You have heard evidence obtained from the government’s use of [undercover agents;
       informants; deceptive investigative techniques]. The government is permitted to use
       these techniques. However, that does not mean you are required to accept the
       evidence obtained from these techniques or even that you must agree with the use of
       such techniques. You alone get to determine the weight to give that evidence, and
       you should consider evidence obtained this way together with and in the same way
       you consider the other evidence.




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Government Instruction No. 21 (Seventh Circuit Committee Instruction No. 5.08A). Counsel

reasserts this objection in full, but in accordance with the Court’s comments during the August 4,

2022 jury instruction conference (Transcript pp. 22-23), modifies the additional requested language

(in particular, offered in accordance with the Committee Commentary in subsection (c)), to read as

follows:

       To prove that a conspiracy existed, the government must prove beyond a reasonable
       doubt that the defendant had an agreement or mutual understanding with at least
       one other person to commit a violation of § 951; that is, to act as an unregistered
       foreign agent without prior notification to the Attorney General.



Government Instruction No. 22 (Seventh Circuit Committee No. 5.09). Counsel previously

requested and persists in the request that this instruction be modified as follows:

       A conspiracy is an express or implied agreement between two or more persons to
       commit a crime. A conspiracy may be proven even if its goal[s] [was; were] not
       accomplished.

       [A conspiracy cannot be inferred from ambiguous conduct that is consistent with both lawful
       and unlawful action.]

       This conspiracy, in particular, is alleged as an agreement to violate 18 U.S.C. §
       951; that is, the allegation in count one is an agreement for the defendant to act as
       a foreign agent in the United States without prior notification to the Attorney
       General. In other words, it is alleging not just that he agreed to be an agent of the
       Chinese government, but furthermore, that he agreed to act in the United States
       in that capacity without prior notification to the Attorney General.

       In deciding whether the charged conspiracy existed, you may consider all of the
       circumstances, including the words and acts of each of the alleged participants.

See Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009).

At the August 4, 2022 pretrial conference, the Court stated that it “would consider stressing to the

jury that the agreement with respect to a conspiracy is an agreement that has to involve an agreement



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to do an act which is a violation of 951. It’s not enough that he agreed to be an agent of the Chinese

government. But so I would—I would take that under consideration, and I think that’s a plausible

concern.” Transcript. p. 24. Counsel has thus modified this proposal to further include the bolded

language set forth above. The Court has already ruled that it will not give the italicized language, but

is included here for comprehension between the various filings. See Transcript p. 26.



Government Instruction No. 24 (18 U.S.C. § 951 Elements) (Defense Instruction No. 4). Counsel

proposes the element instruction for count two, which charges a violation of 18 U.S.C. § 951, be

given as set forth below, while preserving the challenge to the Court’s findings regarding the legal

commercial transaction element. Additional statutory terms requiring definition are proposed in

subsequent instructions separate from the offense elements.

       Count two of the indictment charges the defendant with failing to provide the
       attorney general prior notification before acting in the United States as a foreign
       agent. In order to prove the defendant guilty of this count, the government must
       prove the following elements beyond a reasonable doubt:

          1. That the defendant acted;

          2. As an agent of a foreign government;

          4. That he did so knowingly;

          5. That he performed such an “act” in the Northern District of Illinois during
             the time period alleged in the indictment;

          6. And that he failed to provide notification to the Attorney General prior to so acting.

       See, e.g., United States v. Turner, 13 CR 572 (N.D. Ill. 2014) (Bucklo, J.) (Dkt. # 211); 18 U.S.C.
       § 951.




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Defense Instruction No. 6 (From Dkt. # 310) (§ 951 “Act” Unanimity).

        To find the defendant guilty of acting in the United States as an agent of a foreign
        government without prior notice, you must unanimously agree as to the act [or acts]1
        he performed in the United States as an agent of the foreign government.

See United States v. Ji, 2020 WL 1689826, *2 (N.D. Ill. 2020) (defining § 951 as requiring proof that

the defendant act[ed] in the United States as an agent of a foreign government without prior

notification to the Attorney General”); United States v. Dumeisi, 03 CR 664 Dkt. # 105 (providing

substantially similar unanimity instruction); People v. Turner, 13 CR 572 (N.D. Ill. 2014) (Bucklo, J.)

(Dkt. # 211); 18 U.S.C. § 951(a).



Defense Instruction No. 9 (From Dkt. # 310) (“Scheme to Defraud” Modified). There are going

to be a number of legally complex nuances to the defense regarding the wire fraud charges, including

the issues of whether the government has properly proven a “scheme to defraud” as opposed to a

scheme to do some other wicked thing, that involved “material” representations and an “intent to

defraud” the Army out of the relatively minor sums that has been alleged. Therefore, counsel

proposes this instruction with additional language explaining those relevant and contested nuances

as follows:

        A scheme is a plan or course of action formed with the intent to accomplish some
        purpose.

        A scheme to defraud is a scheme that is intended to deceive or cheat another and to
        obtain money [...] or cause the loss of money to another by means of materially false
        or fraudulent pretenses, representations, or promises.

        ***

        Furthermore, a scheme to defraud is not the same thing as a scheme to lie, trick, or
        otherwise deceive. Rather, when I use the term “scheme to defraud,” I do not mean

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  The reference to multiple acts would, as argued, constitute a constructive amendment of the superseding
indictment, but is included here contingent on the Court’s ruling.


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        schemes that do no more than cause their victims to enter into transactions that they
        would otherwise avoid, but only those in which the defendant lies or makes a
        misrepresentation about the nature of the bargain itself.

        Therefore, if you find that Mr. Ji provided and/or intended to provide the services
        for which the United States Army paid him as specified in counts three and four,
        then no “scheme to defraud” exists even if you find that some deception was
        involved.

        ***

        Furthermore, the object of the scheme to defraud must be to obtain “money.” This
        means that obtaining money must play more than some bit part in the scheme. Or
        put differently, the scheme cannot be said to have money as its object if the loss of
        money to the Army was only an incidental byproduct of the scheme. Kelly v. United
        States, 130 S. Ct. 1565 (2020).



Defense Instruction No. 11 (Seventh Circuit Committee No. 3.03). Although the Court previously

overruled this instruction, counsel reasserts given its critical importance and wishes to argue further.

Furthermore, the Court did state where applicable that it was “leaning” towards striking “or

property” from “money or property” when applicable in reference to the necessary object of the

fraud scheme.

        The crime of wire fraud, pertains only to schemes to defraud that are designed to
        fraudulently obtain “money.” “Maintaining lawful immigration status,” “successful
        enlistment in the United States Army,” and “obtaining citizenship” do not constitute
        “money” within the meaning of this alleged offense.

See McNally v. United States, 483 U.S. 350, 360 (1987); Cleveland v. United States, 531 U.S. 12, 18

(2000); Dkt. # 77 p. 16 (“Defendant is correct that the government is not deprived of money or

property by issuing a visa or citizenship as a result of fraud for purposes of the wire fraud statute”).




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        B. Additional Requested Instructions Based Upon The Court’s Ruling Barring Professor
           Clarke & Nick Lewin’s Testimony.

        i. Instructions Regarding Relevant PRC Law & Voluntariness

        The People’s Republic of China has its own set of laws which, according to its black-letter

dictates, obligates its citizens to cooperate with government officials and to assist in intelligence and

national security matters when called upon to do so.

        One such law, passed on July 1, 2015, is referred to as the 2015 National Security Law.

Articles 7 and 14 of that law, specifically, provide the following:

        Article 7: Any organization or citizen shall, in accordance with the law, support, assist
        and cooperate with national intelligence work, and keep confidential the secrets of
        national intelligence work that come to its or his/her knowledge.

        The state shall protect individuals and organizations that support, assist and
        cooperate with national intelligence work.

        Article 14: A National Intelligence Work Agency may, when carrying out intelligence
        work pursuant to the law, require relevant organs, organizations and citizens to
        provide necessary support, assistance and cooperation.

        In summary, these provisions provide that citizens and other entities are required to “assist

and cooperate” with national intelligence work, and to maintain the confidentiality of that work.

        The term “assist and cooperate” in these clauses does not have a legal definition and are

largely left open to interpretation by Chinese state, government, and intelligence officials who are

in no way meaningfully constrained by formal legal dictates.

        These obligations do not cease to be effective at the “water’s edge”; that is, they do not have

territorial restrictions and are imposed by the Chinese state on its citizens regardless of where they

are located in the world. In other words, the formal legal requirement that Chinese citizens assist

and cooperate in national intelligence work remains in effect for all Chinese citizens, whether

located in China, in the U.S., or elsewhere.



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       Article 14 uses the word “necessary” to qualify what it means by support, assistance, and

cooperation. This is a subjective term that, practically speaking, refers to whatever the Chinese

government deems to be, in fact, “necessary.” Furthermore, the terms “support, assistance, and

cooperation” are all vague yet affirmative terms that can require citizens to do just about anything

when the state makes such a request.

       No formal mechanisms exist to enforce these requirements.

       The safeguard provision contained in Article 7 is understood to be meaningless, ineffective,

and not a clause upon which anyone could reasonably rely.

       In addition to Articles 7 and 14 of the 2015 NSL, The State Security Law, passed July 1,

2015, in Chapter Six, reiterates the duties and rights of citizens, including that they must truthfully

provide known evidence involving activities that endanger national security and providing necessary

support and assistance to national security organs, public security organs, and military organs.

       The Criminal Procedure Code of the People’s Republic of China, as amended March 14,

2012, provides specific obligations for citizens either suspected of a crime or of being a witness to

one to answer relevant questions truthfully when requested. See, e.g., id. at Art. 118, 123.

       ii. Additional Instructions Regarding the Legal Commercial Transaction Defense

The defendant has asserted as a defense to count two the affirmative defense that his alleged conduct

of purchasing the commercial background reports that you have heard evidence and testimony

regarding constituted a legal commercial transaction.

       ***




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The term “legal commercial transaction” means “any exchange, transfer, purchase or sale, of any

commodity, service or property of any kind, including information or intellectual property, not

prohibited by federal or state legislation or implementing regulations.”

        ***

If an individual is engaged in a legal commercial transaction, even on behalf of or at the direction

or control of a foreign government or official, then that individual is not to be considered an “agent

of a foreign government” under § 951.

        ***

You have heard evidence and testimony regarding the terms of service utilized by certain background

report companies. Corporate terms of service are not a “state or federal law or implementing

regulation,” and therefore, it is not relevant to count two if Mr. Ji’s alleged conduct, as you find it,

violated one of those regulations.

        ***

        If you find that the [only] “act” in the United States performed by the defendant was a legal

commercial transaction, you must find the defendant not guilty.

        If you find that [an / the only] “act” in the United States performed by the defendant was

not a legal commercial transaction, and the other elements of the offense are proven beyond a

reasonable doubt, then you must find the defendant guilty.




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                                     Respectfully submitted,

                                     s/ Damon M. Cheronis
                                     Damon M. Cheronis

                                     s/ Ryan J. Levitt
                                     Ryan J. Levitt

                                     s/ Christopher V. Parente
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                                   CERTIFICATE OF SERVICE

I, Damon M. Cheronis, hereby certify that on September 9, 2022, I electronically filed the foregoing
Brief with the Clerk of the U.S. District Court for the Northern District of Illinois, Eastern Division
by using the CM/ECF system. I certify that all participants in the case are registered CM/ECF users
and that service will be accomplished by the CM/ECF system.


                                               s/ Damon M. Cheronis
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